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February 22, 2023


BY ECF

Hon. Analisa Torres
United States District Judge
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, New York 10007

Re:       In re: Search Warrants dated November 3 and 5, 2021,
          Nos. 21 Misc. 813, 21 Misc. 819 and 21 Misc. 825 (AT)
Dear Judge Torres:
        Pursuant to the Court’s Order, dated February 18, 2022 (“Order”), I am submitting for the Court’s
review the January 2022 invoice setting forth the fees, expenses, and costs incurred by me and my firm in
connection with my role as Special Master in the above‐referenced matters.
        I have shared this invoice with the parties prior to submittal and provided them an opportunity
to object or ask questions. No objections were received. Accordingly, I respectfully request that the Court
approve this invoice and direct the parties to pay the amount set forth therein in accordance with the
Order.
       As always, I am happy to answer any questions the Court may have or provide additional
information if necessary.

Respectfully submitted,
/s/ Barbara S. Jones

Barbara S. Jones

Attachment


cc:       Counsel for all parties




Barbara S. Jones           T:+1.212.508.6105      F: +1.800.404.3970
Partner                    1251 Avenue of the Americas, 49th Floor, New York,New York 10020‐1100
                           barbara.jones@bracewell.com         bracewell.com


AUSTIN    CONNECTICUT   DALLAS   DUBAI    HOUSTON     LONDON      NEW YORK     SAN ANTONIO         SEATTLE   WASHINGTON, DC
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United States District Court, Southern District of New York (Veritas)
500 Pearl Street                                                                                              February 09, 2023
New York, NY 10007                                                                                            Invoice: 21951362



Our Matter:                         Special Master in Matters of Search Warrants regarding
                   Project Veritas
                   For Services Through January 31, 2023



Date           Description                                                                                         Hours       Amount

01/03/23       Review and prepare materials; discussion with D. Shargel.                                            1.90       1,710.00

01/03/23       Meeting re: objections and report                                                                    2.00       1,900.00

01/11/23       Revise materials for Judge Jones.                                                                    1.40       1,260.00

01/11/23       Attention to objections                                                                              0.40         380.00

01/13/23       Revise materials for Judge Jones.                                                                    1.40       1,260.00

01/24/23       Draft materials for R&R.                                                                             1.30       1,170.00

01/24/23       Telephone conference with R Maxwell                                                                  0.30         285.00

01/31/23       Review objections in preparation for finalizing decisions                                            1.70       1,615.00

Total Fees                                                                                                                   $ 9,580.00




Bracewell LLP 31 W. 52nd Street, Suite 1900 New York, New York 10019-0019. bracewell.com

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Client: United States District Court, Southern District of New York (Veritas)                                        Invoice: 21951362


                                                             Expense Detail

Date        Cost                                                 Description                                                      Amount

01/31/23 Document Production                                     Complete Discovery Source - Vendor: Complete                     5,423.19
                                                                 Discovery Source - Monthly Data Housing Inv# INV-
                                                                 CDS-29605 Date: 01/31/2023

Total Expenses                                                                                                                  $ 5,423.19


Total Fees, Expenses and Charges on This Invoice                                                                               $ 15,003.19

                                                                                         Government's 50% share: $7,501.60
                                                                                         Petitioners' 50% share: $7,501.60




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